2 AO 121 (6/90)
TO:

                  Register of Copyrights                                                              REPORT ON THE
                  Copyright Office                                                            FILING OR DETERMINATION OF AN
                  Library of Congress                                                                ACTION OR APPEAL
                  Washington, D.C. 20559                                                          REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                     COURT NAME AND LOCATION
        ✔ ACTION
        G                  G APPEAL                                   U. S. District Court for the Eastern District of VA
DOCKET NO.                       DATE FILED                           401 Courthouse Square
        1:17cv1343                        11/21/2017                  Alexandria, VA 22314
PLAINTIFF                                                                         DEFENDANT
Malibue Media, LLC                                                                John Doe
                                                                                  subscriber assigned IP address 173.66.42.25



       COPYRIGHT
                                                            TITLE OF WORK                                                AUTHOR OR WORK
    REGISTRATION NO.

1                                See attached

2

3

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                         G Amendment                 G Answer                 G Cross Bill           G Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

1

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3                                                                     .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                       DATE RENDERED
                                                                                                                                 10/2/2018
            X Order        G Judgment                                     G Yes          X No

CLERK                                                        (BY) DEPUTY CLERK                                              DATE
              Fernando Galindo
                                                                          /s/ Richard Banke                                      10/2/2018

                  1) Upon initiation of action,               2) Upon filing of document adding copyright(s),       3) Upon termination of action,
                     mail copy to Register of Copyrights         mail copy to Register of Copyrights                    mail copy to Register of Copyrights
DISTRIBUTION:
                  4) In the event of an appeal, forward copy to Appellate Court                 5) Case File Copy
                                   IPP International U.G. Declaration Exhibit A
                                     File Hashes for IP Address 173.66.42.25

ISP: Verizon Online, LLC
Physical Location: Arlington, VA



Hit Date UTC           File Hash                                           Title
08/04/2017 21:51:21    7F30DB538482FB13F44A1F5B9E72FD75BB8030EB            Emerald Love

08/04/2017 21:41:02    E3B203419FB0600C8FEDA0E9A4EECBB9E77576D8            Want To Fuck My Wife

08/03/2017 02:44:09    ED5182AF8AFCB1BBFDB4EC2C02CF9B6CA5549AD9            Caprice Swaps Cocks

08/03/2017 02:18:54    407C62C43DE3A1F4C48979E4C145AD5199CC7F05            Forbidden Fruit

07/30/2017 20:23:05    C1992B39AE82163756C2598B4488FBF68D2AA870            Summer Sex with Sybil

07/29/2017 00:32:16    27A442046E8EE81E3C4FC33A4E0687EB1D7041AF            Summer Lovers

07/28/2017 22:46:11    063B7CC16F0CF6BF701E6F91B75FA7F57EECA037            Definitely Not So Shy

06/03/2017 19:17:42    0FEB782D43D19333144FAAF9E2F5F6BC9712CBD4            Sex Games

06/03/2017 19:12:26    64FEDA6D84983A3470C7FB2F17B7206DD91A0E80            Introducing Kimmy

06/03/2017 19:10:00    7F7BD0A6F6E60C864A8532D71C393CF6AEA78270            Kiss From A Rose

06/03/2017 18:45:02    9DDF69A7085E60CFE619236137D8759D95286485            Pussy Party

06/03/2017 18:09:41    56867CCD6147CB5079F39902C0B6F0E78A034688            The Ranch Hand

05/30/2017 16:42:41    BEC5A3845EC88D752CDA0C0DFA8691C3883C7EFB            Triple Treat

05/30/2017 16:41:14    BD854E344F04DFE65B2D8A69F27CA4E023BFA1E4            Superhot Sexting

05/30/2017 15:16:06    DAF7FFE7DFC7E7DF9522B8CC49D7B887123F4B62            Sultry Summer Heat

05/30/2017 15:15:04    DDBAB366A23DE818C1DCD4F00C4BC42DFA6A49A0 Wet Perfection

05/30/2017 13:24:14    016699010C6AA5E9A1AE6F0C670B2484104C2B26            Girl Crush

05/30/2017 13:17:53    CDCFAF4C5C41DFFA02C2DFC995F021407032CFE1            Luscious Lena


Total Statutory Claims Against Defendant: 18




                                                   EXHIBIT A
EVA361
                                Copyrights-In-Suit for IP Address 173.66.42.25

ISP: Verizon Online, LLC
Location: Arlington, VA



                               Registration        Date of First                             Most Recent Hit
Title                          Number              Publication           Registration Date   UTC
Emerald Love                   PENDING             07/22/2017            08/30/2017          08/04/2017

Want To Fuck My Wife           PA0002042072        02/10/2017            03/25/2017          08/04/2017

Caprice Swaps Cocks            PA0002036760        09/17/2016            12/04/2016          08/03/2017

Forbidden Fruit                PA0002036143        10/15/2016            12/04/2016          08/03/2017

Summer Sex with Sybil          PA0002050596        06/20/2017            08/29/2017          07/30/2017

Summer Lovers                  PENDING             07/07/2017            08/30/2017          07/29/2017

Definitely Not So Shy          PENDING             07/15/2017            08/30/2017          07/28/2017

Sex Games                      PA0002042046        01/14/2017            03/25/2017          06/03/2017

Introducing Kimmy              PA0002036142        10/26/2016            12/04/2016          06/03/2017

Kiss From A Rose               PA0002036766        09/23/2016            12/05/2016          06/03/2017

Pussy Party                    PA0002033411        07/23/2016            10/20/2016          06/03/2017

The Ranch Hand                 PA0002031863        07/02/2016            08/29/2016          06/03/2017

Triple Treat                   PA0002036152        10/28/2016            12/04/2016          05/30/2017

Superhot Sexting               PA0002025239        08/31/2016            11/13/2016          05/30/2017

Sultry Summer Heat             PA0002031870        06/25/2016            08/29/2016          05/30/2017

Wet Perfection                 PA0002036156        10/07/2016            12/04/2016          05/30/2017

Girl Crush                     PA0002033406        08/22/2016            10/20/2016          05/30/2017

Luscious Lena                  PA0002035904        09/27/2016            12/05/2016          05/30/2017


Total Malibu Media, LLC Copyrights Infringed: 18




                                                   EXHIBIT B
EVA361
